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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                 8:05CR378
                                              )
MARCO A. COVARRUBIAS,                         )          SCHEDULING ORDER
                                              )
                    Defendant.                )


       IT IS ORDERED that the following is set for hearing on November 17, 2005 at
9:30 a.m. before Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      - Detention Hearing and
        (#15) Motion to Amend Order

        Since this is a criminal case, the defendant must be present, unless excused by
the Court.
  An interpreter will be provided by the Court.



      DATED this 15th day of November, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
